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8                                 IN THE UNITED STATES DISTRICT COURT

9                              FOR THE EASTERN DISTRICT OF CALIFORNIA

10   UNITED STATES OF AMERICA,

11                      Respondent,                           No. CR S-05-0122 GEB GGH P

12             vs.

13   EBONY PIPKINS,

14                      Movant.                               ORDER

15                                                   /

16                      Movant, a federal prisoner proceeding pro se, has filed a motion to vacate, set

17   aside, or correct her sentence pursuant to 28 U.S.C. § 2255. Respondent has filed an opposition

18   to the motion for reduction of sentence. Should movant wish to file a reply, she must do so

19   within twenty days of the filed date of this order, after which time this matter will be deemed

20   submitted.

21                      IT IS SO ORDERED.

22   DATED: 11/13/07
                                                              /s/ Gregory G. Hollows
23
                                                              GREGORY G. HOLLOWS
24                                                            UNITED STATES MAGISTRATE JUDGE

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